Case 1:19-cv-24108-RNS Document 1 Entered on FLSD Docket 10/04/2019 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                      Case No.____________–Civ–____________/_____________


 MARGARET SCHWARTZBERG,

         Plaintiff,

 vs.

 ROYAL CARIBBEAN CRUISES LTD.,
 A LIBERIAN CORPORATION

       Defendant.
 _______________________________________/


                                            COMPLAINT

         Plaintiff, MARGARET SCHWARTZBERG, sues Defendant, ROYAL CARIBBEAN
 CRUISES LTD., and alleges:
                                        A. Summary of Case

         1.      This is a personal-injury/negligence case brought by a cruise-ship passenger
 against a cruise line.
                                B. Basis for Jurisdiction and Venue

         2.      This case falls within the Court’s maritime jurisdiction.
         3.      The passenger ticket that the Defendant sold the Plaintiff contains a forum-
 selection clause that says that actions such as this may be filed only in Miami in the United States
 District Court for the Southern District of Florida.

                                  C. Three Counts of Negligence

                                              Count 1
                                    Negligence: Slipping Hazard

         4.      On or about October 23, 2018, the Plaintiff was a fare-paying passenger on the
 Mariner of the Seas, a cruise ship owned and operated by the Defendant.
Case 1:19-cv-24108-RNS Document 1 Entered on FLSD Docket 10/04/2019 Page 2 of 4



         5.     At that time and place, the Defendant owed the Plaintiff a duty of reasonable care
 under the circumstances.
         6.     At that time and place, in the Windjammer Café on deck 11, the Defendant
 breached its duty of care toward the Plaintiff when it failed to cordon off a section of the deck
 where it was slippery with a foreign substance.
         7.     The Defendant caused this slipping hazard, or the Defendant knew about this
 hazard or the hazard had existed for a sufficient length of time that the Defendant should have
 known about it or this type of hazard occurred with regularity and was therefore foreseeable.
         8.     As a result of the Defendant’s failure to cordon off the section, the Plaintiff
 stepped onto the slippery substance, and slipped and fell.
         9.     When she fell, the Plaintiff suffered bodily injury and resulting pain and suffering,
 disability, physical impairment, disfigurement, mental anguish, inconvenience, loss of capacity
 for the enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss
 of earnings, loss of ability to earn money, and aggravation of a previously existing condition. The
 losses are either permanent or continuing and the Plaintiff will suffer these losses in the future.
         10.    The Plaintiff has performed all conditions precedent to be performed by her, or
 the conditions have occurred.
         Therefore, the Plaintiff demands judgment for money-damages against the Defendant.
                                    REQUEST FOR JURY TRIAL
         The Plaintiff demands a jury trial. As to those issues that are not triable by a jury, the
 Plaintiff respectfully requests a jury trial under Rule 39 of the Federal Rules of Civil Procedure.

                                              Count 2
                                 Negligence: Substandard Flooring

         11.    On or about October 23, 2018, the Plaintiff was a fare-paying passenger on the
 Mariner of the Seas, a cruise ship owned and operated by the Defendant.
         12.    At that time and place, the Defendant owed the Plaintiff a duty of reasonable care
 under the circumstances.
         13.    At that time and place, in the Windjammer Café on deck 11, the Defendant
 breached its duty of care toward the Plaintiff when it failed to make its floor sufficiently slip
 resistant.
Case 1:19-cv-24108-RNS Document 1 Entered on FLSD Docket 10/04/2019 Page 3 of 4



        14.     The Defendant knew that its floor in this area was not sufficiently slip-resistant, or
 this condition had existed for a sufficient length of time that the Defendant should have known
 about it or this type of condition occurred with regularity and was therefore foreseeable.
        15.     As a result of the Defendant’s failure to make its floor sufficiently slip-resistant,
 the Plaintiff slipped and fell when the floor was wet and/or had a foreign substance.
        16.     When the Plaintiff fell, she suffered bodily injury and resulting pain and suffering,
 disability, physical impairment, disfigurement, mental anguish, inconvenience, loss of capacity
 for the enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss
 of earnings, loss of ability to earn money, and aggravation of a previously existing condition. The
 losses are either permanent or continuing and the Plaintiff will suffer these losses in the future.
        17.     The Plaintiff has performed all conditions precedent to be performed by her, or
 the conditions have occurred.
        Therefore, the Plaintiff demands judgment for money-damages against the Defendant.
                                   REQUEST FOR JURY TRIAL
        The Plaintiff demands a jury trial. As to those issues that are not triable by a jury, the
 Plaintiff respectfully requests a jury trial under Rule 39 of the Federal Rules of Civil Procedure.

                                             Count 3
                                    Negligence: Failure to Warn

        18.     On or about October 23, 2018, the Plaintiff was a fare-paying passenger on the
 Mariner of the Seas, a cruise ship owned and operated by the Defendant.
        19.     At that time and place, the Defendant owed the Plaintiff a duty of reasonable care
 under the circumstances.
        20.     At that time and place, in the Windjammer Café on deck 11, the Defendant
 breached its duty of care toward the Plaintiff when it failed to warn the Plaintiff that a section of
 the deck was wet with a foreign substance and slippery.
        21.     As a result of the Defendant’s failure to warn the Plaintiff of this hazard, the
 Plaintiff stepped onto the foreign substance and slipped and fell.
        22.     When he sfell, the Plaintiff suffered bodily injury and resulting pain and suffering,
 disability, physical impairment, disfigurement, mental anguish, inconvenience, loss of capacity
 for the enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss
Case 1:19-cv-24108-RNS Document 1 Entered on FLSD Docket 10/04/2019 Page 4 of 4



 of earnings, loss of ability to earn money, and aggravation of a previously existing condition. The
 losses are either permanent or continuing and the Plaintiff will suffer these losses in the future.
        23.     The Plaintiff has performed all conditions precedent to be performed by her, or
 the conditions have occurred.
       Therefore, the Plaintiff demands judgment for money-damages against the Defendant.
                                   REQUEST FOR JURY TRIAL
        The Plaintiff demands a jury trial. As to those issues that are not triable by a jury, the
 Plaintiff respectfully requests a jury trial under Rule 39 of the Federal Rules of Civil Procedure.

 Dated: October 4, 2019                         Respectfully submitted,

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